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                           UNITED STATES DISTRICT COURT
                                   District of Maine



                                                )
 RIKKI LYNN WHITE,                              )    Docket No. 1:16-CV-00010-JDL
                         Plaintiff              )
                                                )
 v.                                             )
                                                )
 PENOBSCOT COUNTY, PENOBSCOT                    )
 COUNTY SHERIFF’S DEPARTMENT,                   )
 TROY MORTON, WILLIAM E.                        )
 MULHOLLAND, CAPTAIN RICHARD                    )
 CLUKEY and DR. JOSEPH FITZPATRICK,             )
                   Defendants                   )
                                                )


                               STIPULATION OF DISMISSAL


        NOW COME the parties, by and through their undersigned respective counsel, and hereby

stipulate that the above-captioned matter may be dismissed, with prejudice and without costs or

interest to any party.



Dated: April 22, 2016                               /s/ Ezra A.R. Willey
                                                    Ezra A.R. Willey, Esq.
                                                    Attorney for Plaintiff


Dated: April 22, 2016                                /s/ Peter T. Marchesi
                                                    Peter T. Marchesi, Esq.
                                                    Attorney for Penobscot County, Penobscot
                                                    County Sheriff’s Department, Troy Morton,
                                                    and Richard Clukey


Dated: April 22, 2016                                /s/ Elizabeth Stouder
                                                    Elizabeth Stouder, Esq.
                                                    Attorney for Defendant William Mulholland
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                          UNITED STATES DISTRICT COURT
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 RIKKI LYNN WHITE,                              )    Docket No. 1:16-CV-00010-JDL
                        Plaintiff               )
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 v.                                             )
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 PENOBSCOT COUNTY, PENOBSCOT                    )
 COUNTY SHERIFF’S DEPARTMENT,                   )
 TROY MORTON, WILLIAM E.                        )
 MULHOLLAND, CAPTAIN RICHARD                    )
 CLUKEY and DR. JOSEPH FITZPATRICK,             )
                   Defendants                   )
                                                )

                               CERTIFICATE OF SERVICE

        I, Peter T. Marchesi, Esq., attorney for Defendants Penobscot County, Penobscot County
Sheriff’s Department, Troy Morton and Richard Clukey, hereby certify that:


       !      Stipulation of Dismissal


has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Ezra A.R. Willey, Esq.                ezra@willeylawoffices.com
              N. Laurence Willey, Jr., Esq.         lwilley@midmaine.com
              Elizabeth Stouder, Esq.               estouder@rwlb.com
              Heidi Hart, Esq.                      hhart@rwlb.com


Dated: April 22, 2016                                /s/ Peter T. Marchesi
                                                    Peter T. Marchesi, Esq.
                                                    Attorney for Defendants Penobscot County,
                                                             Morton and Clukey
                                                    Wheeler & Arey, P.A.
                                                    27 Temple Street, P.O. Box 376
                                                    Waterville, ME 04903-0376
